Case 2:10-md-02179-CJB-DPC Document 6054-1 Filed 03/15/12 Page 1of13

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL MDL No.: 2:10-md-2179
RIG “DEEPWATER HORIZON”
IN THE GULF OF MEXICO

ON APRIL 20, 2010

SECTION “J”

JUDGE BARBIER
Relates to: 2:10-cv-0381 and 2:10-cv-0888

MAGISTRATE JUDGE SHUSHAN

PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION TO REMAND

BRYCE MICHEL, TOPWATER CHARTERS, LLC, and BACKWATER CHARTERS,
LLC (plaintiffs), submit this memorandum in opposition to the Notice of Removal filed by BP
America Production Company and BP Exploration & Production Inc. on behalf of themselves
and other defendants named therein. Plaintiffs respectfully request that this action be remanded
to the 32 Judicial District Court, Terrebonne Parish, Louisiana for the reasons set forth below.

STATEMENT OF THE CASE

Plaintiffs operate charter fishing businesses in the Gulf of Mexico from ports in
Louisiana. Plaintiffs suffered and continue to suffer severe economic losses as a result of the
Deepwater Horizon Oil Spill Disaster which occurred in April 2010.

Plaintiffs, Bryce Michel and TopWater Charters, have been offering recreational and
sport charter fishing expeditions with professional guide service to corporations for eleven years
and established itself as one of the leading charter fishing businesses in the Gulf Coast region.
Prior to the oil spill disaster, TopWater Charters was in the process of expanding its fleet from
ten to twelve boats and was solidly booked for the spring and summer seasons of 2010. In effort

to stay viable and survive this disaster without going through bankruptcy, Top Water Charters has
Case 2:10-md-02179-CJB-DPC Document 6054-1 Filed 03/15/12 Page 2 of 13

been forced to downsize its fleet and to lay off seasoned captains who are essential to its
normally successful business operations and who greatly contribute to its brand. Plaintiff, Bryce
Michel, doing business as TopWater Charters, also seeks damages for breach of oral contract
under Louisiana state law. Defendant BP agreed to rent plaintiff's dock facilities and boats
following the oil spill disaster. Defendant BP breached this oral agreement and plaintiff seeks to
recover the amount owed him pursuant to that agreement.

Plaintiff, Backwater Charters, has been offering recreational and sport charter fishing
expeditions with professional guide service in southern Louisiana for more than fifteen (15)
years with eight (8) employees and three (3) charter boats. Due to the oil spill disaster,
Backwater Charters has seen greatly reduced business and has suffered a severe loss of income.

On January 18, 2012, Plaintiffs filed suit in the 32™ Judicial District Court, Terrebonne
Parish, State of Louisiana seeking damages for negligence, design and manufacture defect,
breach of oral contract under Louisiana state law and general maritime law, and economic losses.
On February 7, 2012, defendants BP America Production Company and BP Exploration &
Production Inc. (together referred to as “BP”) removed this case to the District Court for the
Eastern District of Louisiana.

Plaintiffs now seck to have this case remanded to the 32™ Judicial District Court,
Terrebonne Parish, Louisiana. It is appropriate for this Court to remand this action because
_complete diversity, as required by the removal statute, 28 U.S.C. §1441, does not exist; The Oil
Pollution Act (“OPA”) provides concurrent state court jurisdiction and saves to suitors under
OPA the right to proceed in state court and therefore does not provide federal question removal
jurisdiction; because Plaintiffs have not made any claims under the Outer Continental Shelf

Lands Act (“OCSLA”) and, alternatively, claims made under the OCSLA enjoy concurrent

2
Case 2:10-md-02179-CJB-DPC Document 6054-1 Filed 03/15/12 Page 3 of 13

yarisdiction in which state courts are better postured to hear such cases; and plaintiffs’ OCSLA
claims cannot be removed as there is no federal question and therefore should be remanded
pursuant to state court pursuant to the forum defendant rule contained in 28 U.S.C. §1441(6).

LAW _AND ARGUMENT

As a general principle, remand should be granted because federal jurisdiction is limited.
It is axiomatic that the jurisdiction of federal courts is limited, with its scope defined by the
federal Constitution and by statute. B., Inc. v. Miller Brewing Co., 663 F.2d 545 (5" Cir. 1981)
(citing American Fire & Casualty v. Finn, 341 U.S. 6 (1951)). When a federal court proceeds in
a matter without first establishing that the dispute is within the province of controversies
assigned to it by the Constitution and statute, that tribunal poaches upon the territory of a
coordinate judicial system, and its decisions, opinions, and orders are of no effect. id. The trial
court must be certain of its jurisdiction before embarking on a safari in search of a judgment on
the merits. /a@ Additionally, plaintiffs may choose the available forum they prefer, and the
defendant may only remove the case if it could have been brought originally in a federal court.
28 U.S.C. § 1441(b). Accordingly, this action should be remanded to the 32"4 Judicial District
Court, Terrebonne Parish, State of Louisiana, the state court with proper jurisdiction.

1. Plaintiffs’ Motion to Remand should be granted because complete diversity, as
required by the general removal statute, 28 U.S.C. § 1441, does not exist in this case.

28 U.S.C. § 1441(B\(2) requires as follows: “A civil action otherwise removable solely
on the basis of the jurisdiction under Section 1332(a) of this title may not be removed if any of
the parties in interest properly joined and served as defendants is a citizen of the State in which
such action is brought.” It is undisputed that plaintiffs, Top Water Charters and Backwater

Charters, and defendants Weatherford U.S. L.P. and Airborne Support International, Inc., are
Case 2:10-md-02179-CJB-DPC Document 6054-1 Filed 03/15/12 Page 4 of 13

Louisiana citizens. As such, removal to federal court is inappropriate because Louisiana

defendants exist in this case.

2. Plaintiffs’ Motion to Remand should be granted because the Oil Pollution Act, 33
U.S.C. §2701, et seq. (“COPA”) provides concurrent state court jurisdiction and saves to
suitors under OPA the right to proceed in state court, and therefore does not provide a
basis for federal question removal jurisdiction.

The terms of OPA itself prevent removal. Section 2717 (“Litigation, jurisdiction and
venue’’) states:

(b) Jurisdiction - Except as provided in subsections (a) and (c) of this section, the United
States district courts shall have exclusive original jurisdiction over all controversies
arising under this chapter, without regard to the citizenship of the parties or the
amount in controversy...

(c} State Court Jurisdiction - A state trial court of competent jurisdiction over the claims
for removal costs or damages, as defined under this chapter, may consider claims
under this chapter or State law and any final judgment or such court (when no longer
subject to ordinary forms of review) shall be recognized, valid, and enforceable for all
purposes of this chapter.

33 U.S.C. §2717. The statute provides concurrent jurisdiction of state and federal courts. The

federal courts are afforded “exclusive original jurisdiction,” subject to the state court jurisdiction
set forth in subsection (c). State court judgments are afforded recognition, validity and
enforceability for all purpose under OPA statute.

Section 2751 (“Savings provisions’’) states:
(e) Admiralty and maritime law - Except as otherwise provided by this chapter,
this chapter does not affect:
(1) admiralty and maritime law; or
(2) the jurisdiction of the district courts of the United States with respect to
civil actions under admiralty and maritime jurisdiction, saving to suitors in
all cases all other remedies to which they are otherwise entitled.

33 U.S.C. §2751(e). As with the general maritime law, suitors under OPA are saved all other

remedies to which they are entitled, including the right to proceed in state court. “Saving to
Case 2:10-md-02179-CJB-DPC Document 6054-1 Filed 03/15/12 Page 5of13

suitors” clauses are extremely rare in the United States Code,’ and the clear intent of OPA's
savings provision (in combination with the grant of jurisdiction to the state courts and ‘the
recognition that state court judgments are valid and enforceable for purposes of OPA) is that
removal is prohibited: This is particularly apparent because Congress granted the federal courts
“exclusive original jurisdiction” over OPA claims, not “exclusive jurisdiction.”

As discussed below, removal of in personam maritime claims brought in state court

pursuant to the Saving to Suitors clause in 28 U.S.C. §1333, absent complete diversity of

citizenship, is not permissible. The same should apply to the identical savings language
contained in OPA; cases lacking diversity of citizenship filed by suitors in state court under OPA
should not be removable.

Plaintiffs recognize that the terms of OPA do not expressly prohibit removal, as do some
other federal laws,” and that defendants will argue that removal is permitted because 28 U.S.C.
& 1441 (a) allows removal of cases of which the federal courts have original jurisdiction

3 However, the language of OPA

“le]xcept as otherwise expressly provided by Act of Congress.
indicates it was Congress’ intent to prohibit removal. The statute states that the state courts “may
consider” OPA cases; it does not state that OPA cases may be “brought” in state court, and
allowing a state court to “consider” OPA claims is inconsistent with allowing the defendant to

remove those claims from state court. It recognizes that state court proceedings may proceed to

final judgment, since it specifically provides that state court judgments are recognized, valid and

* Counsel for plaintiffs found only two like saving to suitors clauses in a Westlaw computer search of the United
States Code - 28 U.S.C. §1333 and 33 U.S.C. $2751.

* See, e.g., Federal Employers' Liability Act, 45 U.S.C. §51, et seq.; The Jones Act, 46 U.S.C.App. 8688; Securities
Act of 1933, 15 U.S.C. 877 v(a).

* The Notice oF Removal does not state which section - (a) or (b) - of 28U U.S.C. § 1441 it is based upon. Plaintiffs
believe that the removal is under section (b), since the Notice of Removal is based primarily on OPA as a statute and
law of the United States.

* Blacks Law Dictionary defines consider as: “To fix the mind on, with a view to careful examination; to examine;

to inspect. To deliberate about and ponder over, To entertain or give heed to.”

Case 2:10-md-02179-CJB-DPC Document 6054-1 Filed 03/15/12 Page 6 of 13

enforceable for purposes of the law. It confers “exclusive original jurisdiction” on the federal
courts, not “exclusive jurisdiction.” And, it saves to suitors the rights they have available under
state law, including the right to proceed in state court. Congress’ intent to prevent removal is
confirmed by the legislative history - the Senate Report states that appropriate federal courts “are
given jurisdiction over controversies arising under the Act,” and that appropriate state courts “are
given jurisdiction over claims made under section 102, and final judgments of such courts are
valid and enforceable for all purposes of sections 102 and 103.” 1990 U.S.C.C.A.N 722. (Section
102 is the damages provision of OPA.). If Congress did not intend to prevent removal of OPA
claims from state court, the words “may consider” “merely state a truism and are surplusage,”

Johnson v. Butler Bros., 162 F2d 87, 89 (8" Cir. 1947), particularly so given the Saving to

Suitors clause contained in the statute.

3. Plaintiffs’ Motion to Remand should be granted because there is no in personam
removal jurisdiction under the general maritime law.

Although the primary basis for removal of this case is federal question jurisdiction under
OPA, defendants have also stated in their Notice of Removal that “the claims asserted by Plain-
tiffs also inherently arise under federal law and are subject to the jurisdiction of the federal courts
under the provisions of 28 U.S.C. §1331 because of the nexus of this case to a federal enclave.”
See Notice of Removal.

Although the foregoing assertion by defendants is vague, Plaintiffs will attempt to
address it. Defendants may be asserting that the admiralty and maritime jurisdiction stated in 28

removal jurisdiction over this matter.

28 U.S.C. § 1333's Saving to Suitors clause preserves a maritime suitor's election to

6
Case 2:10-md-02179-CJB-DPC Document 6054-1 Filed 03/15/12 Page 7 of 13

pursue in personam common law remedies in state court. (OPA's Saving to Suitors clause
likewise provides a maritime suitor's election to pursue claims under that statute in state court.).
An in personam claim brought pursuant to the Saving to Suitors clause and the general maritime

law does not arise under the “Constitution, treaties, or laws” of the United States and is not

removable on the grounds:of general federal question jurisdiction. Romero_y. International

Terminal Operating Company, 358 U.S. 354, 375-376, 79 S.Ct. 468, 482, 3 L. Ed. 2d 368

(1959), superseded by statute on other grounds. Romero “made clear that except in diversity
cases, maritime litigation brought in state courts could not be removed to federal courts.”

Poirrier_y. Nicklos Drilling Company, 648 F.2d 1063, 1065 6" Cir. 1981), quoting Gaitor v.

Peninsular _& Occidental S.S. Co.,.287 F.2d 252, 254 (5™ Cir. 1961). In personam admiralty and

-maritime cases may, however, be removable to federal court when there exists some independent
basis for federal jurisdiction such as diversity of citizenship or when federal jurisdiction is

independently established by a federal maritime statute. Servis v_ Hiller Systems Incorporated,

54 F.3d 203, 206-207 (4 Cir. 1995) (emphasis added). This rule, prohibiting removal of
maritime claims absent complete diversity of citizenship, finds its justification in the Saving to
Suitors clause, which gives plaintiff the option of bringing in personam maritime suits in state

court. Zoila-Ortego vy. BJ-Titan Services Company, 751 F.Supp. 633 (E.D. La. 1990). Here,

there is no basis for diversity of citizenship (since defendants Weatherford U.S., L.P. and
Airborne Support International, Inc. are Louisiana entities) and no basis for federal statutory
maritime jurisdiction under OPA (as demonstrated above), and therefore the removal of this
Saving to Suitors case was improper. To allow removal based upon general maritime jurisdiction
alone would defeat the plaintiffs’ choice of forum protected by the Saving to Suitors clauses in

28 U.S.C. §1333 and in OPA itself.

Case 2:10-md-02179-CJB-DPC Document 6054-1 Filed 03/15/12 Page 8 of 13

Although not stated in the Notice of Removal, defendants removed this case under

section (b) of 28 U.S.C. § 1441, which provides, in its first sentence, for the removal of cases

arising under the Constitution, treaties or laws of the United States without regard to the
citizenship of the parties. Claims in admiralty do not arise under the Constitution, treaties or laws
of the United States - “[e]mphatically” claims in admiralty, whether designated in rem or in
personam, do not fall within the category of cases removable under the first sentence of 28

U.S.C, §1441(b). In_re Dutile, 935 F.2d 61, 63 os" Cir. 1991), citing Romero. The attempted

removal of this case based upon general maritime jurisdiction then must fall under the second

sentence of 28 U.S.C. § 1441 (b), which allows removal only if none of the parties in interest

properly joined and served as defendants is a citizen of the State in which the action is brought.
A defendant who desires to remove a maritime action from state court to federal court must
establish diversity of citizenship, Dutile, 935 F.2d 63, which defendants cannot do in this case
because of the proper joinder of Weatherford U.S., L.P. and Airborne Support International, Inc.
as defendants. There is clearly no in personam removal jurisdiction present in this case.
4. OCSLA does not grant removal jurisdiction absent a separate federal question.
Defendants alternately argue that this case is “removable to this Court under the
independent jurisdictional grant of OCSLA, 43 U.S.C. § 1331, et seq.” and that this “Court has
subject matter jurisdiction under 43 U.S.C. § 1349 (b)(1)(A). See Notice of Removal, {14 and
4116. Both of these arguments fail and remand is appropriate.

a) To the extent OCSLA conflicts with OPA’s more specific provisions giving plaintiffs
the right to sue under state law in state court, OPA governs.

OCSLA cannot be the source of a removable federal question in this action because

OCSLA, by its own terms, gives way to any other provision of law that reaches conduct
Case 2:10-md-02179-CJB-DPC Document 6054-1 Filed 03/15/12 Page 9 of 13

occurring on the outer Continental Shelf. BP concedes that OPA is the federal statute governing
claims for oil spill damages. See Notice of Removal, (13. OPA merged a variety of preexisting
federal laws — including OCSLA — and explicitly reserved to the states the power to provide state
law protections in their own courts for victims of an oil spill.°Therefore OPA, not OCSLA, is the
salient federal jurisdictional statute and this Court need only resolve the question of whether
federal question removal is proper under OPA, which for all the reasons discussed above in
Section 2 and 3, it is not.

b) The grant of “original jurisdiction” in OCSLA § 1349(6)(1) does not establish a
basis for removal.

Defendants argue that OCLSA § 1349 gives federal courts jurisdiction over cases and
controversies arising out of certain mineral exploration activities on the outer Continental Shelf.’
This Court need not address whether Plaintiffs’ claims concern an “operation” conducted on the
outer Continental Shelf that involved “exploration, development, or production” of “minerals,”
as Defendants suggest, because even if Plaintiffs’ claims fell within the jurisdictional grant in §
1349, the mere fact that OCSLA gives federal courts original (i.e. concurrent) jurisdiction over
certain OCSLA-related claims does not entitle Defendants to remove this action under 28 U.S.C.

§ 1441(b).* OCSLA does not create federal question removal jurisdiction because even though

*See 43 U.S.C. § 1333(f) (“The specific application by this section of certain provisions of law to the subsoil and
seabed of the outer Continental Shelf and the artificial islands, installations, and other devices referred to in
subsection (a) of this section or to acts or offenses occurring or committed thereon shall not give rise to any
inference that the application to such islands and structures, acts, or offenses of any other provision of law is not
intended.”); see also Hufnagel v. Omega Serv. Indus., Inc., 182 F.3d 340, 351, n.7 (Sth Cir. 1999) (holding that §
1333(f) “makes clear that the applicability of OCSLA law... shall not give rise to any inference that other provisions
of law... do not also apply”).

® See 33 U.S.C. §§ 2717, 2718.

743 U.S.C § 1349(b)\(1)(A).

8 See 28 U.S.C. § 1441(b). A defendant might, of course, alternatively seek removal on the basis of diversity under §
1441(b), but BP does not assert diversity in its Notice of Removal and in any case could not avail itself of diversity
removal because two of BP’s co-defendants are citizens of Louisiana, the state in which this civil action was
brought.
Case 2:10-md-02179-CJB-DPC Document 6054-1 Filed 03/15/12 Page 10 of 13

Section 1349 provides the district courts with “jurisdiction of cases and controversies arising out
of, or in connection with” certain activities on the outer Continental Shelf,’ that Section’s grant
of original jurisdiction to the district courts does not implicate a federal question for the type of
claims that Plaintiffs assert against Defendants.'” The Supreme Court made this patently clear in
Gulf Offshore Co. v. Mobil Oil Corp., where it permitted a plaintiff to assert tort claims in state
court for injuries sustained on the outer Continental Shelf lands because “nothing in the
language, structure, legislative history, or underlying policies of OCSLA suggests that Congress
intended federal courts to exercise exclusive jurisdiction” over all claims arising on the outer
Continental Shelf." ‘The Gulf Offshore Court was careful to draw the distinction between
sovereignty — which for the outer Continental Shelf rests exclusively with the federal government
—and each state’s power to adjudicate its citizens’ claims even when those claims arise from
conduct that occurred within the area of federal sovereignty. 2

The fact “[t]hat the location of the event giving rise to the suit is an area of exclusive
federal jurisdiction rather than another State, does not introduce any new limitation on the forum
State’s subject-matter jurisdiction.” '* Thus, there is no doubt that Plaintiffs may assert state law
causes of action for conduct occurring on the outer Continental Shelf.'* The only remaining

question is whether such state court actions are removable as presenting federal questions

* 43 U.S.C. § 1349 (B)UY(A)

"° Gulf Offshore Co, v. Mobil Oil Corp., 453 U.S. 473, 479, 484 (1981).

"US. at 479, 484 (discussing claims for personal injury); see also Id. at 479, n.6 (making clear that OCSLA

§1333(a)(2) likewise do not confer exclusive jurisdiction to federal courts).

"2 Gulf Offshore Co., 453 U.S. at 481 (holding that “The judiciary power of every government looks beyond its own

_ local or municipal laws, and in civil cases lays hold of all subjects of litigation between parties within its
jurisdiction, though the causes of dispute are relative to the laws of the most distant part of the globe” (quoting The

Federalist No. 82, p. 514 (Alexander Hamilton) (H. Lodge ed., 1908)).

° Gulf Offshore Co. 453 U.S. at 481-82.

'4 See Coody v. Exxon Corp., 630 F. Supp. 202, 205-06 (M.D. La. 1986) (remanding case to state court where

plaintiff elected to assert only state law claims, and rejecting argument that failure to assert federal OCSLA remedy

under Section 1349 constituted “artful pleading” because “it is... immaterial that the plaintiffs could have elected to

assert a claim under OCSLA”). Notably, in Coody, the incident giving rise to the suit occurred as the plaintiff was

boarding a drilling platform from a vessel that at the time was located outside of the state’s territorial waters.

10
Case 2:10-md-02179-CJB-DPC Document 6054-1 Filed 03/15/12 Page 11 of 13

pursuant to 28 U.S.C. § 1441(b) solely because they “arise out of or in connection with”
OCSLA. They are not. It is clear that federal question jurisdiction does not exist “by virtue of
jurisdiction under [OCSLA].”° Courts have repeatedly held that removal is impermissible
whenever plaintiff's well-pleaded complaint presents no claim “arising under the Constitution,

»!6 notwithstanding that the location of the incident falls

treaties or laws of the United States,
within OCSLA’s jurisdictional scope.'’ Indeed, “where the plaintiff has decided not to assert a
federal claim [under OCSLA\, although such a claim may be available to him . . . a defendant
cannot use the unasserted federal claim as the basis for removing [the] case to federal court."
Accordingly, OCSLA § 1349 does not create a federal question and does not justify defendants’

removal of this action.

CONCLUSION

Plaintiffs now seek to have this case remanded to the 32" Judicial District Court,
Terrebonne Parish, Louisiana. It is appropriate for this Court to remand this action because
complete diversity, as required by the removal statute, 28 USC. §1441, does not exist; OPA
provides concurrent state court jurisdiction and saves to suitors under OPA the right to proceed
in state court and therefore does not provide a basis for federal question removal jurisdiction; and
because Plaintiffs have not made any claims under the Outer Continental Shelf Lands Act and,

alternatively, claims made under the Outer Continental Shelf Lands Act enjoy concurrent

3 Tenn. Gas Pipeline v. Houston Cas. Ins. Co., 87 F.3d 150, 156 (Sth Cir. 1996); see also Hufnagel, 182 F.3d at
351.
© 98 U.S.C. § 1441(b).
"7 See Nase v. Teco Energy, Inc., 347 F. Supp. 2d 313, 319-20 (E.D. La. 2004} (remanding action in which OCSLA
granted original jurisdiction to federal court because maritime claims do not arise under the laws of the United
States); see also Bulen v. Hall-Houston Oil Co., 953 F. Supp. 141, 145 (E.D. La.1997) (OCSLA does not create
removal jurisdiction over claim not otherwise presenting federal question); Courts v. Accu-Coat Servs., inc., 948 F.
Supp. 592, 595 (W.D. La. 1996) (remanding non-federal claim); Rivas v. Energy Partners of Del., Civ. A. 99-2742,
Civ. A. 99-3352, 2000 WL 127290, at *5 (E.D. La. Feb. 1, 2000) (same); Shelton v. Tidewater, Inc., No. Civ. A. 90-
1845, 1990 WL 103658, at *4 (E.D. La. July 16, 1990) (same).
'§ Coody, 630 F. Supp. at 205.

1]
Case 2:10-md-02179-CJB-DPC Document 6054-1 Filed 03/15/12 Page 12 of 13

jurisdiction in which state courts are better postured to hear such cases; and plaintiffs’ OCSLA
claims cannot be removed as there is no federal question and therefore should be remanded to
state court pursuant to the forum defendant rule contained in 28 U.S.C. §1441(b).

The removal statute should be narrowly construed with doubt construed against removal,

Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 61 S.Ct. 868, 85 L.Ed 1214 (1941);

Carpenter v. Wichita Falls Independent School District, 44 F.3d 362 (5"" Cir. 1995); Leboeuf v.
Texaco, 9 F. Supp. 2d 661,664 (E.D. La. 1998), and remand should be granted if there is any

doubt as to the right of removal in the first instance. Jones v. General Tire & Rubber Co., 541

F.2d 664 (7th Cir. 1976). This rule is designed to ensure that federal courts do not encroach upon
the state court's rights to hear and determine cases properly brought in the state court. See,

Skidmore v. Beech Aircraft Corp., 672 F.Supp 923 (M.D. La. 1990). Because the state court has

every right to consider and determine this action, plaintiffs respectfully pray that this Court
remand this suit to the 32" Judicial District Court, Terrebonne Parish, Louisiana; grant plaintiffs
their just expenses and actual costs, including attorney’s fees pursuant to 28 U.S.C.1447(c), and
grant plaintiffs all other appropriate relief.

Respectfully submitted,

SMITH STAG, L.L.C.

s/Michael G. Stag

Stuart H. Smith, No. 17805
-Michael G. Stag, No. 23314
One Canal Place

365 Canal Street, Suite 2850
New Orleans, LA 70130
(504) 593-9600 Telephone
(504) 593-9601 Facsimile

ATTORNEYS FOR PLAINTIFFS

12
Case 2:10-md-02179-CJB-DPC Document 6054-1 Filed 03/15/12 Page 13 of 13

CERTIFICATE OF SERVICE

I certify that I have served a copy of this pleading on all counsel of record by either
facsimile or by U.S. Mail, postage prepaid and properly addressed, this 14th day of March, 2012.

s/Michael G, Stag

13
